                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


                                          :
RAQIM WALKER, derivatively on behalf      :
of INSULET CORPORATION,                   :
                             Plaintiff,   :
                                          :   Civil Action No. 1:17-cv-10738-MLW
v.                                        :
                                          :
DUANE DESISTO, PATRICK                    :
SULLIVAN, CHARLES LIAMOS,                 :
BRIAN ROBERTS, ALLISON DORVAL,            :
JOHN FALLON, SALLY W.                     :
CRAWFORD, TIMOTHY J. SCANNELL,            :
STEVEN T. SOBIESKI, REGINA                :
                                          :
SOMMER and JOSEPH ZAKRZEWSKI,             :
                                          :
                          Defendants,     :
                                          :
and                                       :
                                          :
INSULET CORPORATION,                      :
                   Nominal Defendant.     :
                                          :
FRANK CARNAZZA, derivatively on           :
behalf of INSULET CORPORATION,            :
                             Plaintiff,   :
                                          :   Civil Action No. 1:17-cv-11977-MLW
                                          :
v.                                        :
DUANE M. DESISTO, PATRICK J.              :
SULLIVAN, CHARLES T. LIAMOS,              :
                                          :
BRIAN K. ROBERTS, ALLISON                 :
DORVAL, JOHN A. FALLON, SALLY             :
W. CRAWFORD, TIMOTHY J.                   :
SCANNELL, STEVEN T. SOBIESKI,             :
REGINA O. SOMMER, JOSEPH S.               :
ZAKRZEWSKI, DAVID A. LEMOINE,             :
and JESSICA HOPFIELD,                     :
                                          :
                          Defendants,     :
                                          :
and                                       :
                                          :
INSULET CORPORATION,                      :
                                          :
                   Nominal Defendant.     :
                   UNOPPOSED MOTION OF FRANK CARNAZZA TO
                        CONSOLIDATE RELATED ACTIONS

       Plaintiff Frank Carnazza (“Plaintiff”) respectfully moves this Court pursuant to Rule

42(a) of the Federal Rules of Civil Procedure for an order consolidating the above-captioned

related actions. This motion is based on the attached memorandum of points and authorities and

the Court’s complete files and records in the actions, as well as such further argument as the

Court may request.


                              COMPLIANCE WITH LR 7.1(a)2

       This motion is filed pursuant to Rule 42(a) of the Federal Rules of Civil Procedure.

Pursuant to LR. 7.1 (a) 2, counsel for Plaintiff met and conferred with counsel for defendants and

counsel for Plaintiff Walker who do not oppose the relief requested in this motion.


                                                     Respectfully submitted,

                                                     PASTOR LAW OFFICE, LLP

                                                      s/ David Pastor
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                                CERTIFICATE OF SERVICE


       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper

copies will be sent to those indicated as non-registered participants on May 17, 2018.




                                                     s/ David Pastor
                                                    DAVID PASTOR




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